     Case 3:09-cv-00440-O Document 175 Filed 06/17/11                Page 1 of 3 PageID 4522


                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

RICHARD MILLER                                  §
                                                §
            Plaintiff,                          §
                                                §        CIV. A. NO. 3:09-cv-0440-0
                                                §        ECF
v.                                              §
                                                §
RAYTHEON COMPANY,                               §
                                                §
            Defendant.                          §

   DEFENDANT’S NOTICE CONCERNING THE COURT’S JURISDICTION TO
 ADDRESS PLAINTIFFS’ ATTORNEYS’ FEES MOTION AND MOTION TO EXTEND
                     DEFENDANT’S RESPONSE DATE

            Raytheon files this Notice and Motion with Respect to Attorneys’ Fees and would show

the court as follows:

                                                    1.

            The Court issued an order on June 15, 2011, directing the Parties to brief the issue of

whether it has jurisdiction to decide other matters in the above-captioned case. The Parties are in

agreement that the Court retains jurisdiction to determine the amount of attorney’s fees. The

United States Supreme Court held in Budinich v. Becton Dickinson & Co., 486 U.S. 196, 202

(1988), that “an unresolved issue of attorney’s fees for the litigation in question does not prevent

judgment on the merits from being final.” Accordingly, an appeal of the Court’s judgment on

the merits does not deprive the Court of jurisdiction to determine the claim for fees and costs and

vice-versa.

            However, the Parties will brief this issue, pursuant to the Court’s Order, if the Court

requires additional briefing.




1471044.1
   Case 3:09-cv-00440-O Document 175 Filed 06/17/11                     Page 2 of 3 PageID 4523




                                                     2.

            Defendant requests, and Plaintiff does not oppose, an extension of time for Raytheon to

respond to Plaintiff’s Motion for Attorneys’ Fees until and including Thursday, June 23, 2011.

                                                  Respectfully submitted,



                                                  By:             /s/ Michael P. Maslanka
                                                          Michael P. Maslanka
                                                          State Bar 13148800
                                                          mmaslanka@constangy.com
                                                          William E. Hammel
                                                          State Bar 24036714
                                                          whammel@constangy.com
                                                          CONSTANGY, BROOKS & SMITH, LLP
                                                          100 Crescent Court
                                                          Suite 700
                                                          Dallas, Texas 75201
                                                          Telephone: 214.646.8625
                                                          Facsimile:     214.459.8165
                                                          ATTORNEYS FOR DEFENDANT
                                                          RAYTHEON COMPANY


                                    CERTIFICATE OF CONFERENCE

            I hereby certify that I conferred with Yona Rozen, one of the counsel for Plaintiff, and

she agrees with the contents of this Motion.


                                                                /s/ Michael P. Maslanka
                                                          Michael P. Maslanka




1471044.1
   Case 3:09-cv-00440-O Document 175 Filed 06/17/11                Page 3 of 3 PageID 4524




                                     CERTIFICATE OF SERVICE

            I hereby certify that a true and correct copy of the above and foregoing Motion With

Respect for Attorneys’ Fees has been served upon all parties-of-record on this 17th day of June,

2011, as follows:

Hal K. Gillespie
Yona Rozen
Gillespie, Rozen, & Watsky, PC
3402 Oak Grove
Suite 200
Dallas, Texas 75204                                      /s/ Michael P Maslanka
                                                   Michael P. Maslanka




1471044.1
